It is too well recognized to require citation of authority that the right to make a testimentary disposition of property is not an inherent right, but is subject to legislative regulation and control, and that statutory requirements are not merely directory but mandatory and must be substantially complied with.
This court has considered the nature of evidence permissible and its sufficiency in determining whether a will has been "signed by the hand of the testator himself" as required by the provisions of SDC 56.0209. In re Brandow's Estate, 59 S.D. 364,240 N.W. 323. The conclusion there expressed is that the face of an instrument offered as an olographic will must establish that it is a completely executed document and that the requirement of a signature is satisfied, though found elsewhere than at the end if it was affixed with the intent to execute the will. In construing an identical statute, the Supreme Court of California in Re Estate of Manchester, 174 Cal. 417, 163 P. 358, 360, L.R.A. 1917D, 629, Ann. Cas. 1918B, 227, said: "The true rule, as we conceive it to be, is that, wherever placed, the fact that it *Page 616 
was intended as an executing signature must satisfactorily appear on the face of the document itself. If it is at the end of the document, the universal custom of mankind forces the conclusion that it was appended as an execution, if nothing to the contrary appears. If placed elsewhere, it is for the court to say, from an inspection of the whole document, its language as well as its form, and the relative position of its parts, whether or not there is a positive and satisfactory inference from the document itself that the signature was so placed with the intent that it should there serve as a token of execution. If such inference thus appears, the execution may be considered as proven by such signature."
The document under consideration cannot be deemed a valid will in the absence of anything on its face to raise an inference that the writing of the name in the body of the document was intended as a signature executing the document. There is no language in the document which adopts the name as a signature for purposes of execution and in my opinion the form of the document and its contents are not sufficient to give rise to a positive inference that decedent regarded the document as a completed will and that her name therein was intended as an executing signature. For these reasons, the judgment below should in my opinion be reversed.